     Case: 1:22-cv-00059-MWM Doc #: 31 Filed: 05/03/23 Page: 1 of 2 PAGEID #: 327




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION – CINCINNATI

CABATECH, LLC,                                :          Case No. 1:22-cv-59
                                              :
                      Plaintiff,              :          Judge Matthew W. McFarland
                                              :
               v.                             :
                                              :
NEXTLIGHT, LLC,                    :
                                       :
                  Defendant.           :
______________________________________________________________________________

                             CALENDAR ORDER
______________________________________________________________________________

        Pursuant to the Rule 26(f) Report filed April 28, 2023 (Doc. 30) by the parties, this

case shall proceed as follows:

1.      Deadline for motion to amend pleadings/add parties: September 1, 2023

2.      Deadline to submit protective order: September 22, 2023

3.      Deadline for motions related to pleadings: November 1, 2023

4.      Deadlines for disclosure of expert witnesses and submission of expert reports:
          Plaintiff’s expert report(s): November 15, 2023
          Defendant’s expert report(s): December 15, 2023
          Disclosure and report of rebuttal experts: January 15, 2024

5.      Disclosure of non-expert (fact) witnesses: February 15, 2024

6.      Discovery deadline: February 15, 2024

7.      Dispositive motions deadline: March 15, 2024

        IT IS SO ORDERED.
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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF OHIO


                                     By:      /s/ Matthew W. McFarland b
                                           JUDGE MATTHEW W. McFARLAND
